                                                                                                                                                                    "       !

                                                    Exhibit E: CEO Action Letter
                                                  Expedia Group Commits to Creating Lasting
                                                  Change
                                                  Statement                   Lauren von Stackelberg, Global Head of Inclusion & Diversity, Expedia Group

                                                                              On Tuesday 9 June, we offered all Expedia Group employees a day off to pause and to
                                                                              reflect in honor of the memory of George Floyd, Breonna Taylor and other innocent Black
ACTION CATEGORIES                                                             lives taken too soon because of racial injustice. Employees had the opportunity to spend
                                                                              time with their loved ones and to consider how each of us can be a much-needed force for
BLACK EQUITY
                                                                              change in our world, our communities, and our companies.
RESPONSES TO REAL-TIME EVENTS


                                                                              As a corporation, Expedia Group is also reflecting on what we can do to make an impactful
                                                                              change. We must do more than speak up and stand with Black people battling systemic
                                                                              injustice. We must dedicate ourselves to relentlessly fighting for real and lasting social
                                                                              change together – not just now, but always. As the world’s travel platform, we are
                                                                              committed to taking the actions required to accelerate this change in the world for our
                                                                              employees, customers, partners and communities.

                                                                              We acknowledge that true progress begins with honesty and transparency. We should be
                                                                              further along. We know progress and change are overdue. We know silence and inaction
                                                                              further oppression. Through not saying and doing enough, we have been part of the
                                                                              problem. We commit to being a bigger part of the solution and to lead by example with clear
                                                                              intent, actions and impact. We must do better, and we will. While we have made some
                                                                              impact on inclusion, we’ve not focused enough on race.

                                                                              How are we committing to change?

                                                                              (Un)learning

                                                                              We will leverage education to drive behavior change and mindset shifts. We will enhance
                                                                              and expand our existing bias training and expect all our employees to participate. Also, we
                                                                              will expand our existing allyship training and expect all managers to participate. This will
                                                                              help educate employees and to learn how to use their privilege to support others who are
                                                                              targets because of their identities. We will provide new resources and trainings for our
                                                                              employees to work toward unlearning racism and unconscious bias.

                                                                              Empowering & Amplifying Diverse Voices

                                                                              We will actively listen to divergent and marginalized voices. We will increase the visibility
                                                                              and support for our Inclusion Business Groups (IBGs). We will continue to ensure all our
                                                                              employees listen to and learn from lived experiences and identities different to their own
                                                                              and feel empowered to speak up and to amplify a diverse range of voices. We will increase
                                                                              our commitment to using inclusive imagery and diverse customer perspectives in our
                                                                              marketing and advertising.

                                                                              Interrupting Bias in our Policies & Practices

                                                                              We will be intentional in identifying how we can dismantle racism through our policies and
                                                                              practices for everyone we serve. We will focus on our employees’ and travelers’ safety.

                                                                              Creating Equal Opportunity for Tech Talent

                                                                              We will drive change in our communities to promote racial equity in technology. We will do
                                                                              more to facilitate education and training to unlock the tech world to a more diverse set of
                                                                              students. We will connect underrepresented talent with more job opportunities.

                                                                              Reimagining Recruiting

                                                                              We will require inclusive, equitable hiring practices. We have done some of this but will
                                                                              enhance at a greater rate. All hiring managers and interviewers will be trained in
                                                                              understanding bias. We will create mechanisms to ensure we always have a diverse pool of
                                                                              candidates and interviewers for every job. We will focus on being more representative of
                                                                              our travelers.

                                                                              Ensuring Accountability via Goal Setting

                                                                              We will integrate Inclusion & Diversity into our business goals to ensure personal
                                                                              accountability from individual employees all the way to our CEO. We will ask every
                                                                              employee to set an Inclusion & Diversity goal. We will regularly share progress against our
                                                                              goals.

                                                                              Creating Safe Spaces for Difficult Conversations

                                                                              We will be bold and not shy away from ‘difficult’ conversations. We will create
                                                                              psychologically safe spaces for feedback, reflection and growth. We will encourage our
                                                                              teams to consider both their intent and their impact, to acknowledge, learn and grow from
                                                                              their mistakes, and to find their own clear next steps. We will host regular company-wide
                                                                              conversations led by our Inclusion & Diversity team and Inclusion Business Groups. We will
                                                                              be mindful of where the burden lies and prioritize self-care and wellbeing.

                                                                              With a workforce representing a diverse range of lived experiences in countries around the
                                                                              world, we believe we can and will create real, lasting, global change. We acknowledge that
                                                                              inclusion is a journey, not a destination. We’ve been on this journey for a while and we are
                                                                              committing to it with more energy and purpose today. You have our promise: this won’t be
                                                                              the last you hear and see from us on this.




                                                  Was this action helpful?                                                                 YES                    NO




  QUESTIONS?                                      GET IN TOUCH                                                FOLLOW US ON
  Visit our Frequently Asked Questions page for   Connect with a CEO Action team member!                      TWITTER
  more information.
                                                   C O N TAC T U S !                                          Engage on Twitter by following us, and using the
    READ MORE !                                                                                               hashtag #CEOAction.

                                                                                                               FOLLOW US !




                                                                                   © 2017-2023 PwC. All rights reserved. PwC refers to the US member firm or one of its
                                                                              subsidiaries or affiliates, and may sometimes refer to the PwC network. Each member firm is
                                                                                              a separate legal entity. Please see www.pwc.com/structure for further details.


                                                                                                                                                          Legal      Privacy
